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G
f?
     Q.




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                                       SO U TH ER N D ISTR IC T O F FLO R ID A
                                           C ase N o.19-cr-20635-W illiam s


            U M TED STA TE S O F AM ER ICA ,

            V.

            JH O N JM R O SILV A H ER NA ND EZ,

                   D efendant.
                                                           /

                                                FA C TUA L PR O FFER

                   The Defendant,Jhon Jairo Silva Hernandez (çGDefendanf'),hiscounsd,andthe United
            StatesofAm ericaagreethat,hadthiscaseproceededtqtrial,theUnited Stateswouldhaveproven

            the follow ing factsbeyond a reasonable doubt:

                   An investigation by 1aw enforcem entauthoritiesidentifed adrug trafficking organization

            based in lpiales,Colom bia,that,in approximately 2018 and 2019,wasresponsibleforaèquiring,

            transporting, and distributing heroin 9om Colom bia to the U nited States and elsewhere.The

            investigation revealed that,since Septem ber 2018,the Defendant,a Colom bian N ationalPolice

            (CNP)officerworkinginIpiales,Colombia,suppliedheroinfrom Colombiafordistributiontothe
            United States.

                   M orespecitk ally,in September2018,aconfidentialinform antidentified theDefendantas

            a com zpt CN P officer w ho w as involved in trao cldng heroin. In O ctober 2018, another

            confidentialinfonuantintroduced theDefendantto an tmdercoverCNP officer(the1&UC'')who
                                                                                       %
                                                                                       j

            described him self as aptlrchaser ofheroin w ith a distribution network in M iam i,Florida.

                   On O ctober 30,2018,the U C and SILV A HERN AN D EZ m etin a parking 1otin Ipiales,

            Colom bia, and discussed the sale of two kilogram s of heroin for 25,000 Colom bian pesos
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  (approximately US $8,000).The meeting was partially recorded by the UC using an audio
  recording device.TheU C advisedtheDefendantthathewould ship thetwo ldlogram sofheroin

  to M iami,Florida,where he had a diskibution network.Afteragreeing to selltwo ldlogrnm sof

  heroin to the UC,the Defendantbriefly left,reblrning with a bag,which he handed to the UC.

  Before the ptlrchase,the UC tested the contents of the bag provided by Defendant. The test

  confinned itwasheroin.TheU C paidtheDefendant25,000 Colombian pesosfortheheroin.

         On December28,2018,theUC used the W hatsApp textmessaging application to send a

  m essagetotheDefendantadvisingthatthetwo ldlogramsofheroin thattheDefendantpreviously

  sold to the UC were transpo/ed successft
                                         zlly to M iam i,Florida.TheU C then requested thatthe

  D efendantprovidehim w ith an additionalldlogram ofheroin by Jmm ary 10,2019. TheD efendant

  responded by requesting thattheUC contacthim closerto January 10,2019.

         O n January 5,2019,theU C contacted theD efendantvia W hatsA pp.The D efendantagreed

  toselltheUC onelcilogrnm ofheroinfor15,000Colombianpesos(approximatelyUS $4,700).
         On January 10,2019,theDefendantand the UC metatam allin lpiales,Colombia.The

  m eeting w as recorded by the U C using audio and video recording devices.D lzring the m eeting,

  theUC thnnkedtheDefendantforthetwoldlogram sofheroin previously soldtotheUC.TheU C

  told the D efendantthatthe two ldlogrnm s ofheroin had nrrived Eirlicely''in M inm i.

         Dtuing thisJanuaty 10,2019 meeting,theDefendantassured the UC thatthe additional

  ldlogram ofheroin wasthesame quality asthetwo previousldlogram sofheroin.TheUC agreed

  and said he w ould pay 15,000 Colom bian pesos for the ldlogram ofheroin. The D efendantthen

  handedtheUC abag.TheUC leftthem eeting,tested the contentsofthebag,and confinned that

  itcontained heroin.The U C then paid the D efendant 15,000 Colom bian pesos.

         CN P officials subsequently conducted a laboratory analysis ofeach ofthe three ldlogrnm j
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   ofheroin plzrchasedfrom theDefendantand determinedthatthetllreekilogrnm sal1testedpositive

  forheroin.Thetotalweightoftheheroin soldby the Defendantwasarotmd threeldlogrnm s,but

  this included packaging. As such,the totalweightofthe actualheroin,m inuspackaging,was

  slightly underthreekilogrnm s.

         The Parties agree thatthe above facts,which do notinclude a11the facts lcnown to the

  G overnm ent and the D efendant,are sufficientto prove the gtlilt ofthe D efendantin the above-

  referenced m atter.

                                             JUAN AN TON IO GON ZA LEZ
                                             U N ITED STATES A TTORN EY


  oate: 5/'-& z               By:
                                             F DE       C .S    LEY
                                             A S ISTAN T UN IT D STATES ATTO RN EY

                                                                .'   vs    .
                                                                           .
  Date:ö 5?to /Q.-=           By:
                                             AFp K RSTEN NnLso ,EsQ.
                                             c ou x sEL Fo R DEFEN DAN T


  Date:o3 /to J>w             By:                     n o v., > <                J'. .,. Z  ,
                                                 '
                                                 NJ      O SILV      ERN A      Z
                                             D/FENDANT




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